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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF COLUMBIA

 Yanping Chen,

                                 Plaintiff,
                                                  No. 18-cv-3074
                    v.
                                                  Hon. Christopher R. Cooper
 Federal Bureau of Investigation,
                                                  United States District Judge
 U.S. Department of Justice, U.S.
 Department of Defense, and U.S.
 Department of Homeland
 Security,

                             Defendants.



GOVERNMENT’S CONSENT MOTION FOR 6-DAY EXTENSION OF TIME TO
   CONDUCT CONFERENCE OF COUNSEL UNDER RULE 26(f) AND
                 LOCAL CIVIL RULE 16.3(a)

       As part of its February 10, 2020 Order setting the Initial Scheduling Conference

for March 11, 2020, the Court ordered counsel to “confer at least 21 days prior to the

date of the Initial Scheduling Conference to discuss the matters outlined in Local Civil

Rule 16.3(c)” — i.e., by February 19, 2020. ECF No. 15 at 1.

       Defendants Federal Bureau of Investigation, U.S. Department of Justice, U.S.

Department of Defense, and U.S. Department of Homeland Security move for a six-day

extension of time to conduct the conference of counsel under Rule 26(f) and Local Civil

Rule 16.3(a), from February 19, 2020, to February 25, 2020. The government does not

seek to modify the date of the Initial Scheduling Conference or the deadline to submit

the joint Local Civil Rule 16.3(d) report. Plaintiff Yanping Chen consents to this

requested extension. This request is supported by good cause, as set forth below:




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       1.       Before the Court entered its Order setting the Initial Scheduling

Conference, the parties had already scheduled the conference of counsel under Rule

26(f) and Local Civil Rule 16.3(a) for February 25, 2020.

       2.       Due to out-of-state business travel and out-of-state vacation plans, as well

as obligations in other cases, government counsel are not mutually available for the

conference of counsel under Rule 26(f) and Local Civil Rule 16.3(a) on any dates on or

before February 19, 2020, the current deadline to conduct the conference. The

government thus requests a six-day extension of time to conduct the conference of

counsel under Rule 26(f) and Local Civil Rule 16.3(a), from February 19, 2020, to

February 25, 2020.

       3.       The government does not seek to modify the date of the Initial Scheduling

Conference. The government also does not seek to modify the deadline to submit the

joint Local Civil Rule 16.3(d) report, which would remain due “no fewer than 7 days

prior to the date of the Initial Scheduling Conference.” ECF No. 15 at 1.

       4.       In accordance with Local Civil Rule 7(m), government counsel conferred

with counsel for plaintiff Yanping Chen about this motion to extend the deadline to

conduct the conference of counsel under Rule 26(f) and Local Civil Rule 16.3(a).

Plaintiff’s counsel advised that they do not oppose the motion.

       5.       A proposed order is attached.




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Dated: February 12, 2020                Respectfully submitted,

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